
ROGERS, Circuit Judge,
dissenting in part:
The Fourth Amendment protects “[t]he right of the people to be secure in their *184persons, houses, papers, and effects, against unreasonable searches and seizures .... ” U.S. Const, amend. IV. These protected “effects” include automobiles, Preston v. United States, 376 U.S. 364, 366-67, 84 S.Ct. 881, 882-83, 11 L.Ed.2d 777 (1964), and although a person “has a lesser expectation of privacy in a motor vehicle because ... [i]t travels public thoroughfares where both its occupants and its contents are in plain view,” New York v. Class, 475 U.S. 106, 113-14, 106 S.Ct. 960, 965-66, 89 L.Ed.2d 81 (1986) (quoting Cardwell v. Lewis, 417 U.S. 583, 590, 94 S.Ct. 2464, 2469, 41 L.Ed.2d 325 (1974) (plurality opinion)), “a car’s interior ... is nonetheless subject to Fourth Amendment protection from unreasonable intrusions by the police,” Class, 475 U.S. at 114-15, 106 S.Ct. at 966. The government’s “intrusion into a particular area, whether in an automobile or elsewhere,” violates the Fourth Amendment if “the area is one in which there is a ‘constitutionally protected reasonable expectation of privacy.’ ” Id. at 112, 106 S.Ct. at 964-65 (citing Katz v. United States, 389 U.S. 347, 360, 88 S.Ct. 507, 516, 19 L.Ed.2d 576 (1967) (Harlan, J., concurring)). Because the government failed to offer evidence that Maple, upon his arrest for traffic violations, had waived a reasonable expectation of privacy in a closed compartment of his car, which had not been impounded by the police, the warrantless search of that compartment was impermissible under the Fourth Amendment.
The court’s holding hinges on its misconception of what constitutes a search under the Fourth Amendment. It is long settled that “ ‘[a] search occurs when an expectation of privacy that society is prepared to consider reasonable is infringed.’ ” Soldal v. Cook County, 506 U.S. 56, 63, 113 S.Ct. 538, 544, 121 L.Ed.2d 450 (1992) (quoting United States v. Jacobsen, 466 U.S. 109, 113, 104 S.Ct. 1652, 1656, 80 L.Ed.2d 85 (1984) (internal quotations omitted)). Or stated conversely, “a Fourth Amendment search does not occur ... unless ‘the individual manifested a subjective expectation of privacy in the object of the challenged search,’ and ‘society [is] willing to recognize that expectation as reasonable.’ ” Kyllo v. United States, 533 U.S. 27, 33, 121 S.Ct. 2038, 2042-43, 150 L.Ed.2d 94 (2001) (quoting California v. Ciraolo, 476 U.S. 207, 211, 106 S.Ct. 1809, 1811-12, 90 L.Ed.2d 210 (1986)). A closed, opaque compartment by its nature secures its contents from public view — as the officer indicated was his intention with respect to Maple’s cell phone — and when Maple was arrested, the console in his car was closed. The government, which has the burden of proving the lawfulness of the search, Mincey v. Arizona, 437 U.S. 385, 390-91, 98 S.Ct. 2408, 2412-13, 57 L.Ed.2d 290 (1978), offered no evidence that Maple did not have a privacy interest in the contents of the console or had waived that interest, and the district court made no finding that the closed console was not a repository of Maple’s personal effects or that Maple had no expectation of privacy, much less that the officer had probable cause to open it. See Class, 475 U.S. at 118, 106 S.Ct. at 968; Cardwell, 417 U.S. at 591, 94 S.Ct. at 2469-70; cf. California v. Acevedo, 500 U.S. 565, 579, 111 S.Ct. 1982, 1990-91, 114 L.Ed.2d 619 (1991); United States v. Ross, 456 U.S. 798, 800, 825, 102 S.Ct. 2157, 2160, 2173, 72 L.Ed.2d 572 (1982).
To salvage the seizure of Maple’s property, the court adopts the novel notion that a police officer who opens a closed compartment in a defendant’s car is not engaged in a search under the Fourth Amendment. Op. at 16, 20. This is so, the court explains, because the officer’s subjective intent was to save Maple the expense of impounding his car and to protect his car by securing from public view a *185cell phone that he had left on the floor of his car. Op. at 17, 20. “In determining whether a ... search is reasonable under the Fourth Amendment,” however, “courts look to objective evidence, not subjective intentions.” United States v. Mangum, 100 F.3d 164, 170 (D.C.Cir.1996) (citing Whren v. United States, 517 U.S. 806, 116 S.Ct. 1769, 135 L.Ed.2d 89 (1996)). In other words, “the issue is not” the law enforcement officer’s “state of mind” — whether he was intentionally rummaging about for contraband or wished to find something in particular — “but the objective effect of his actions” — whether a reasonable expectation of privacy was infringed. Bond v. United States, 529 U.S. 334, 338 n. 2, 120 S.Ct. 1462, 1465 n. 2, 146 L.Ed.2d 365 (2000). For instance, in holding that the search of the inside of a car (to remove papers on the dashboard obscuring the vehicle identification number that would otherwise be in plain view) was “sufficiently unintrusive to be constitutionally permissible,” the Supreme Court in Class found significant that the officer “did not reach into any compartments or open any containers.” Class, 475 U.S. at 118—19, 106 S.Ct. at 968-69. That finding contrasts sharply with the officer’s opening of the closed console in Maple’s car, which upset Maple’s reasonable expectation of privacy, regardless of the officer’s purpose.
Although the court labors to support its approach by pointing to a definition of “search” in Kyllo, 533 U.S. at 33 n. 1, 121 S.Ct. at 2043 n. 1, the court misreads that opinion. In the court’s view, “the anterior question before any court is whether a search of any kind has occurred, and only after that question is answered in the affirmative are we to consider the target’s expectation of privacy.” Op. at 20. But these two inquiries cannot be decoupled because the target’s expectation of privacy itself defines whether a search occurred at all. In Kyllo the Supreme Court reaffirmed the longstanding proposition that “a Fourth Amendment search occurs when the government violates a subjective expectation of privacy that society recognizes as reasonable.” 533 U.S. at 33, 121 S.Ct. at 2042 (citing Katz, 389 U.S. at 361, 88 S.Ct. at 516-17 (Harlan, J., concurring)). Then, after explaining that the scope of a search is defined by privacy expectations, the Court held that information obtained through thermal imaging of a private home “was the product of a search,” rejecting the view that information was not obtained regarding the interior of the home. Kyllo, 533 U.S. at 35, 121 S.Ct. at 2043-44; see also id. at n. 2,121 S.Ct. at 2043 n. 2. The holding of Kyllo is thus more relevant than the court suggests, Op. at 19-20, for it reenforces the importance of privacy expectations in Fourth Amendment analysis. Moreover, Kyllo’s holding makes clear that the dictum relied on by the court cannot be construed as exempting “inadvertent” discoveries in the course of caretaking, Op. at 20, from the Fourth Amendment’s protections. Whether deliberate or inadvertent, a governmental intrusion is a search where it interferes with an individual’s reasonable privacy expectations. Cf. Horton v. California, 496 U.S. 128, 141, 110 S.Ct. 2301, 2310, 110 L.Ed.2d 112 (1990).
The court errs in following the government’s reliance on Harris v. United States, 390 U.S. 234, 88 S.Ct. 992, 19 L.Ed.2d 1067 (1968) (per curiam), for the principle that police officers may seize property found in automobiles when they are “not conducting a search at all.” Op. at 19. Harris cannot support the conclusion that no search occurred of Maple’s car. In Harris, the defendant’s car was impounded, and the officer discovered the robbery victim’s car registration while taking measures “to protect the [defendant’s] car while it was in police custody,” as required by a regula*186tion of the D.C. Metropolitan Police Department (“MPD”). Upon opening the passenger door in order to close the windows and thereby secure the car against the elements, in compliance with the MPD regulation, the officer saw the victim’s car registration on the metal stripping. Harris, 390 U.S. at 235-36, 88 S.Ct. at 993-94. Maple’s car, by contrast, had not been impounded, and the officer was not acting pursuant to standardized departmental procedures in opening the console. Moreover, the registration card in Harris “was plainly visible,” and “[i]t has long been settled that objects falling in the plain view of an officer who has a right to be in the position to have that view are subject to seizure and may be introduced in evidence.” Id. at 236, 88 S.Ct. at 993 (citations omitted). But Maple’s gun, unlike his cell phone, was not in plain view; it was located in a closed compartment and was discovered only after the officer opened the compartment without Maple’s authorization. Thus, the “narrow circumstances” of Harris, id., where there may not be a search because the officer is acting pursuant to police procedures for securing impounded cars and inadvertently discovers an object in plain view, do not cover the opening of the console in Maple’s car.
Under the Supreme Court’s precedents, then, the officer’s opening of the closed compartment in Maple’s car constituted a search, and a warrantless search of private property is per se unreasonable unless it falls within one of the “ ‘few specifically established and well-delineated exceptions’ ” to the warrant requirement. Mincey, 437 U.S. at 390, 98 S.Ct. at 2412 (quoting Katz, 389 U.S. at 357, 88 S.Ct. at 514). In determining whether the officer’s search of the closed console was lawful under the Fourth Amendment, the Supreme Court’s decision in Cady v. Dombrowski, 413 U.S. 433, 93 S.Ct. 2523, 37 L.Ed.2d 706 (1973), is instructive. In Cady, the Supreme Court held that a warrantless search of the trunk of a car was not unreasonable under the Fourth and Fourteenth Amendments because the police had reason to believe that the trunk contained a gun, the car was vulnerable to intrusion by vandals, and public safety could have been endangered had an intruder removed a gun from the trunk of the vehicle. Id. at 447-48, 93 S.Ct. at 2530-31. The court observed that “local police officers ... frequently investigate vehicle accidents in which there is no claim of criminal liability and engage in what ... may be described as community caretaking functions, totally divorced from the detection, investigation, or acquisition of evidence relating to the violation of a criminal statute.” Id. at 441, 93 S.Ct. at 2528. The Supreme Court in Cady emphasized, however, that the police had (1) exercised a form of control over the car, and (2) acted under “standard procedure in (that police) department.” Id. at 442-43, 93 S.Ct. at 2528-29. In other words, because the police had taken temporary custody of the car, the search was not merely the subjective choice of the officer conducting the search. See also Harris, 390 U.S. at 235, 88 S.Ct. at 993.
Here, the police officer exercised a form of control over Maple’s car, but the district court made no finding that the officer acted pursuant to established procedures of the MPD when he opened the console to secure the cell phone and, thereby, the car. The officer testified that he routinely relocates cars to legal parking spaces following traffic arrests, but he did not claim that MPD officers routinely open closed compartments in private automobiles to secure a defendant’s personal property. Nor did the government, which has the burden, Mincey, 437 U.S. at 390-91, 98 S.Ct. at 2412-13, introduce any such evidence.
*187Under the MPD’s policy and procedures governing Automobile Searches and Inventories, the officer was not authorized to open the console in order to secure the cell phone. See generally MPD Gen. Order 602(1) (May 26, 1972), reprinted in Joint Appendix at 37-52. The applicable procedures provide that if a prisoner’s car is not taken to a location at or near a police facility, “it shall not be inventoried in any way,” id. at 602(I)(B)(3)(b), an “inventory” being defined as “an administrative process by which items of property are listed and secured,” id. at 602(I)(B) (emphasis added). Further, such car shall not be searched unless: (1) the arresting officer does so in the presence of the defendant at the time of his arrest, in which case the officer may search “only those areas within the immediate control of the defendant (the area from which the arrested person might gain possession of weapons or destructible evidence),” id. at 602(I)(A)(l)(a)(l); or (2) a police officer has probable cause to believe that the car contains the fruits, instrumentalities, contraband, or evidence of the crime for which the defendant was arrested-exceptions not relevant in this case. Id. at 602(I)(A)(l)(a)(l) &amp; (b)(1). Even if Maple’s car had been taken to a location at or near a police facility, MPD policy only authorizes the officer to remove “personal property which can easily be seen from outside the vehicle and which reasonably has a value in excess of $25,” to take the property to the police facility, and to enter it on a property log for later return to the defendant. Id. at 602(I)(B)(3)(b). Instead, in searching for a place to secure Maple’s cell phone, the officer decided to open a closed compartment in Maple’s car.
Absent personal property found inside a ear that might pose a danger to the police officer or to the public, thus affording probable cause for the officer to secure the weapon and prevent it from falling into the wrong hands, see Cady, 413 U.S. at 442, 93 S.Ct. at 2528-29, Cady required the officer to act in accordance with the MPD’s established procedures for protecting personal property in a car that is in temporary police custody. Doing so ensures that any police intrusion into private property is limited in scope to the extent necessary to cany out the caretaking function, South Dakota v. Opperman, 428 U.S. 364, 375, 96 S.Ct. 3092, 3100, 49 L.Ed.2d 1000 (1976), thereby preventing warrantless searches, such as inventories, id. at 367-76, 96 S.Ct. at 3096-3101, from becoming “a ruse for general rummaging in order to discover incriminating evidence.” Florida v. Wells, 495 U.S. 1, 4, 110 S.Ct. 1632, 1635, 109 L.Ed.2d 1 (1990). To the extent that MPD procedures did not authorize the officer to open closed compartments inside an unimpounded car in order to secure the defendant’s personal property, the officer had no other authorized reason to open the console. Neither of the exceptions under MPD’s established procedures apply: the search did not occur in Maple’s presence at the time of his arrest, MPD Gen. Order 602(I)(A)(l)(a)(l), and the officer did not testily, nor did the district court find, that the search was conducted with probable cause associated with the crime for which Maple was arrested, id. at 602(I)(A)(l)(b)(l). Although the court resists applying MPD General Order 602 according to its plain terms, see, e.g., Op. at 18 &amp; n.l, the established MPD procedures provide for securing personal property in plain view: the officer should take the car to a location at or near a police facility if the car is not impounded. Nothing since Cady suggests that the Supreme Court has abandoned its emphasis on the need for the police to act pursuant to “standardized criteria” or “established routine” when opening containers. See Wells, 495 U.S. at 4-5, 110 S.Ct. at 1635-36; cf. *188Colorado v. Bertine, 479 U.S. 367, 375-76, 107 S.Ct. 738, 742-44, 93 L.Ed.2d 739 (1987); Illinois v. Lafayette, 462 U.S. 640, 648, 103 S.Ct. 2605, 2610-11, 77 L.Ed.2d 65 (1983); Opperman, 428 U.S. at 375-76, 96 S.Ct. at 3100-01.
Because the officer’s opening of the console does not fall within one of the “few specifically established and well-delineated exceptions” to the warrant requirement, Mincey, 437 U.S. at 390, 98 S.Ct. at 2412, the reasonableness of the officer’s conduct is to be determined by reference to whether he followed the MPD’s procedures. See Wells, 495 U.S. at 3-4, 110 S.Ct. at 1634-35; Opperman, 428 U.S. at 376, 96 S.Ct. at 3100-01; United States v. Duguay, 93 F.3d 346, 351-52 (7th Cir.1996); United States v. Marshall, 986 F.2d 1171, 1174-76 (8th Cir.1993); United States v. Johnson, 936 F.2d 1082, 1084 (9th Cir.1991). MPD General Order 602 established, and thus restricted, the manner in which a police officer can protect a defendant’s property, and nothing in Hams, on which the court relies, Op. at 19, is to the contrary, for there the officer was acting pursuant to established police department procedures. Hams, 390 U.S. at 235, 88 S.Ct. at 993. Nor does the record here show inadvertent conduct under the plain view doctrine, Op. at 20; the officer spotted the gun only after he opened the closed console.
Rather than recognize the limited exceptions to the per se rule for warrantless searches, see Mincey, 437 U.S. at 390, 98 S.Ct. at 2412; Cady, 413 U.S. at 439, 93 S.Ct. at 2527, the court acknowledges the Supreme Court’s jurisprudence, Op. at 18, and proceeds to ignore Maple’s privacy interest in his car console. See Kyllo, 533 U.S. at 33, 121 S.Ct. at 2042-43; cf Class, 475 U.S. at 118, 106 S.Ct. at 967. Even assuming the privacy interest in an unlocked, closed compartment is of a lesser order than the privacy interest in a locked glove compartment or, as in Wells, 495 U.S. at 2, 110 S.Ct. at 1634, in a locked trank, the salient point is that whatever his good intentions, the officer failed to follow established police policy and procedures for securing a defendant’s property. With the court’s new exception to the per se rule, accomplished by redefining when a search occurs under the Fourth Amendment, police officers who profess not to be engaged in criminal investigation are free to devise their own procedures for protecting personal property inside a defendant’s car — free even to open closed compartments — notwithstanding the MPD’s established policy limiting warrantless searches to particular circumstances.
Accordingly, because the police officer conducted a warrantless search of Maple’s car console without Maple’s consent or probable cause, and in opening the console was not following established police procedures for securing a defendant’s property, the district court erred in denying the motion to suppress the evidence seized by the police from the console as a violation of Maple’s Fourth Amendment rights. Because I concur in the holding that Maple did not preserve his Second Amendment claim, and because the drugs were in plain view on top of the console, Harris, 390 U.S. at 236, 88 S.Ct. at 993, I would reverse the judgment and remand the case for the retrial that Maple seeks, Appellant’s Br. at 22, on the drag charge.
